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 1                                                         JUDGE RICARDO S. MARTINEZ
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 7                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 8                                    AT SEATTLE
 9     UNITED STATES OF AMERICA,                     ) NO. CR06-251RSM
                                                     )
10                          Plaintiff,               )
                                                     )
11                   vs.                             ) ORDER GRANTING STIPULATED
                                                     ) MOTION TO CONTINUE TRIAL
12     HA VAN TRAN,                                  )
                                                     )
13                          Defendants.              )
                                                     )
14

15            THE COURT having considered the stipulated motion of the parties, the
16     records and files herein, the Court hereby makes the following findings:
17            1.   Based on the facts set forth in the parties stipulated motion, the Court finds
18     that a failure to grant the continuance would deny counsel the reasonable time
19     necessary for effective preparation, taking into account the exercise of due diligence,
20     within the meaning of 18 U.S.C. § 3161(h)(8)(B)(ii).
21            2.   The Court further finds that the ends of justice will be served by ordering a
22     continuance in this case, that a continuance is necessary to insure effective trial
23     preparation and that these factors outweigh the best interests of the public in a more
24     speedy trial, within the meaning of 18 U.S.C. § 3161(h)(8)(A).
25     //
26

     (Proposed) ORDER GRANTING STIPULATED                                 FEDERAL PUBLIC DEFENDER
                                                                                      1601 Fifth Ave., Suite 700
     MOTION TO CONTINUE TRIAL - 1                                                   Seattle, Washington 98101
     (Ha Van Tran; CR06-251RSM)                                                                  (206) 553-1100
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 1           IT IS THEREFORE ORDERED that the trial date for Ha Van Tran and Cuong
 2     Parker is extended from October 2, 2006, to November 6, 2006. Pretrial motions shall
 3     be filed by October 3, 2006.
 4

 5           DONE this 8th day of September, 2006.
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 8
                                                      RICARDO S. MARTINEZ
 9                                                    UNITED STATES DISTRICT JUDGE

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12     Presented by:
13
       s/Nancy Tenney
14     WSBA No. 35304
       Attorney for Ha Van Tran
15     Federal Public Defender’s Office
       1601 Fifth Ave., Suite 700
16     Seattle, WA 98101
       206/553-1100
17     206/553-0120
       nancy_tenney@fd.org
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     (Proposed) ORDER GRANTING STIPULATED                            FEDERAL PUBLIC DEFENDER
                                                                                 1601 Fifth Ave., Suite 700
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     (Ha Van Tran; CR06-251RSM)                                                             (206) 553-1100
